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                            CERTIFICATE OF SERVICE

   I, Michelle A. Parfitt, hereby certify that I caused a copy of the foregoing
   Plaintiffs’ Steering Committee’s Omnibus Memorandum of Law in Response and
   Opposition to Defendants’ Johnson & Johnson and Johnson & Johnson Consumer
   Inc.’s Motion to Exclude Plaintiffs’ General Causation Opinions to be filed
   electronically via the court’s electronic filing system the 29th day of May, 2019.
   Those attorneys who are registered with the court’s electronic filing system may
   access these filings through the court’s system, and notice of these filings will be
   sent to these parties by operation of the court’s electronic filing system.

   Dated:       May 29, 2019                     /s/ Michelle A. Parfitt
                                                 Michelle A. Parfitt
